         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2023-1788
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TERRANCE ANTON HARRIS,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
Coleman L. Robinson, Judge.


                       August 21, 2024

PER CURIAM.

    AFFIRMED.

B.L. THOMAS and NORDBY, JJ., concur; TANENBAUM, J., concurs
with opinion.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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TANENBAUM, J., concurring.

     Though not raised by Harris in this appeal, the record reveals
a potentially illegal sentence, one imposed by the trial court after
improperly revoking his probation. Section 948.06(2)(f)1., Florida
Statutes, requires (except in limited circumstances not applicable
here) the trial court to “modify or continue a probationary term” if
all the following apply:

    a. The term of supervision is probation.

    b. The probationer does not qualify as a violent felony
    offender of special concern, as defined in paragraph (8)(b).

    c. The violation is a low-risk technical violation, as
    defined in paragraph (9)(b).

    d. The court has not previously found the probationer in
    violation of his or her probation pursuant to a filed
    violation of probation affidavit during the current term of
    supervision. A probationer who has successfully
    completed sanctions through the alternative sanctioning
    program is eligible for mandatory modification or
    continuation of his or her probation.

“Failure to report a change in address or other required
information” is a “low-risk technical violation[].” § 948.06(9)(b)3.,
Fla. Stat.

     The probation officer averred in part in the violation affidavit
that Harris had “absconded,” specifying though that it was
condition three of the probation order Harris violated. Condition
three required Harris to “remain in a specified place” and
precluded him from changing his “residence or employment” or
leaving the county where he resides “without first procuring the
consent of [his probation] officer.” After a contested evidentiary
hearing, the trial court violated Harris for failure to comply with
condition three. It seems to me the violation was a low-risk one
under the statutory definition, yet the trial court revoked Harris’s
probation, imposing a five-year prison sentence rather than
“modify[ing] or continu[ing]” the probation as required by section
948.06(2)(f)1.


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     Despite the apparent impropriety of the trial court’s
revocation order and the ostensibly unauthorized prison sentence
imposed as a result, there is nothing we can do in this direct appeal
because Harris did not properly raise the issue. See Hall v. State,
823 So. 2d 757, 763 (Fla. 2002) (finding where the appellant “made
no argument” as to a certain issue in his initial brief, that issue
was deemed abandoned); D.H. v. Adept Cmty. Servs., Inc., 271 So.
3d 870, 880 (Fla. 2018) (“Claims of error not raised by an appellant
in its initial brief are deemed abandoned.”); cf. State v. Dortch, 317
So. 3d 1074, 1081 (Fla. 2021) (describing that even if an error is
fundamental, “a defendant has no constitutional due process right
to the correction of unpreserved error”); id. at 1081–82 (explaining
that “for sentencing errors, to raise even fundamental errors on
appeal, defendants must first file a motion under rule 3.800(b)”).
Whether Harris has another avenue by which to challenge his
sentence possibly is a question for another day. Here, we must
affirm on the arguments Harris did make.

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Jessica J. Yeary, Public Defender, and Ross S. Haine II, Assistant
Public Defender, for Appellant.

Ashley Moody, Attorney General, and Amanda A. Uwaibi,
Assistant Attorney General, for Appellee.




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